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                                 UNITED STATES DISTRICT COURT
22                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
23
     Cung Le, Nathan Quarry, and Jon Fitch, on                Case No. 5:14-cv-05484-EJD
24   behalf of themselves and all others similarly            Case No. 5:14-cv-05591-EJD
     situated,                                                Case No. 5:14-cv-05621-EJD
25
                             Plaintiffs,
26                                                            PLAINTIFFS’ OPPOSITION TO
             v.                                               DEFENDANT’S MOTION TO ADVANCE
27                                                            THE HEARING DATE ON ITS MOTION TO
     Zuffa, LLC, d/b/a Ultimate Fighting                      TRANSFER
28   Championship and UFC,                                                          5:14-cv-05484-EJD
                                                                                           5:14-cv-05591-EJD
                                                 1                                         5:14-cv-05621-EJD
                         PLAINTIFFS’ OPPOSITION TO MOTION TO ADVANCE HEARING DATE
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 1                        Defendant.

 2   Luis Javier Vazquez and Dennis Lloyd Hallman,
     on behalf of themselves and all others similarly
 3   situated,
 4                      Plaintiffs,
 5         v.
 6   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
 7
                        Defendant.
 8   Brandon Vera and Pablo Garza, on behalf of
     themselves and all others similarly situated,
 9
                        Plaintiffs,
10
          v.
11
     Zuffa, LLC, d/b/a Ultimate Fighting
12   Championship and UFC,
13                      Defendant.
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                                                                                   5:14-cv-05484-EJD
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 1   I.      INTRODUCTION
                                                        1
 2           Defendant UFC’s Administrative Motion should be denied because it is inconsistent with the

 3   Court’s scheduling Order, and will prejudice Plaintiffs’ ability to oppose the UFC’s motion to transfer on

 4   the basis of forum non conveniens (“forum non conveniens motion”). The parties have negotiated the

 5   briefing schedule covering motions in response to the Complaints filed by Plaintiffs, including the forum

 6   non conveniens motion filed by the UFC. The Court adopted the Stipulation and entered it as the Order of

 7   the Court. See Docket No. 26. Moreover, the UFC’s Administrative Motion is an improper attempt to

 8   require Plaintiffs to respond to its forum non conveniens motion prior to learning through initial disclosures

 9   the locations of the UFC’s witnesses and documents, as well as any discovery that may be warranted to

10   determine whether San Jose is an inconvenient forum to resolve this action. Finally, the concerns the

11   UFC raises regarding “judicial economy” have no application here, because the Court is free to resolve

12   the UFC’s motions in whatever order it deems appropriate, regardless of when the briefing is complete.

13   II.     BACKGROUND

14           The three Complaints on behalf of seven persons in these related actions were filed and served

15   between December 16 and December 26, 2014. See Docket Nos. 1, 18, 19. The Complaints allege that the

16   UFC violated Section 2 of the Sherman Act by engaging in an anticompetitive scheme to maintain and

17   enhance its (a) monopoly power in the market for promotion of Live Elite professional mixed martial arts

18   (“MMA”) bouts, and (b) monopsony power in the market for Live Elite MMA fighter services. See

19   Complaint, Le et al. v. Zuffa, LLC, No 5:14-cv-05484 (“Le Complaint”), ¶¶ 4-5, 12-14, 28. The first

20   Complaint was filed by Mr. Cung Le, a celebrated Elite MMA fighter who resides in San Jose. Id. ¶ 28.

21   Among other things, the Complaints allege that UFC engaged in a series of acquisitions of rival

22   promotors, including one based in San Jose, and used this consolidated power to restrict Elite MMA

23   fighters’ ability to freely pursue marketing contracts, including those with EA Sports in Redwood City.

24   Id. ¶¶ 28, 131.

25           By Rule, responses were due to all Complaints on or before January16, 2015. As an

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27   1
      The Administrative Motion to Advance the Hearing Date on Its Consolidated Motion to Transfer
28   Venue Under 28 U.S.C. § 1404(a) (“Administrative Motion”) filed by Defendant Zuffa, LLC’s d/b/a
                                                                                     5:14-cv-05484-EJD
     Ultimate Fighting Championship and UFC (“UFC”), Docket No. 31.                  5:14-cv-05591-EJD
                                                1                               5:14-cv-05621-EJD
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 1   accommodation to the UFC, Plaintiffs agreed to extend the time for responses in exchange for an

 2   agreement on a mutually agreeable briefing schedule and hearing date. After back-and-forth

 3   communications, the parties completed the negotiations and reached an agreement. See Declaration of

 4   Joseph R. Saveri (“Saveri Decl.”), ¶ 2. The parties reduced the agreement to writing in the form of a

 5   [Proposed] Stipulation and Order (the “Stipulation”). Id. The Stipulation provides in pertinent part that

 6   “Zuffa will answer, file a motion, or otherwise respond to the Complaints in this action on or before Friday,

 7   February 27, 2015.” See Docket No. 26. The Stipulation provided that briefing would be complete by May

 8   1, 2015, and that a Case Management Conference (“CMC”) would take place on May 7. Id. Although the

 9   stipulation reserved UFC’s ability to file a forum non conveniens motion under 28 U.S.C. § 1404, it did not

10   indicate such a motion would proceed under a schedule different from the one to which the parties

11   agreed. See Saveri Declaration ¶¶ 2-3. At no time before entry of the stipulation did the UFC inform

12   Plaintiffs that it was currently preparing a forum non conveniens motion, or some other transfer motion, or

13   that it wanted to have that motion heard before the CMC. Id. On January 15, 2015, the parties submitted

14   the Stipulation to the Court, and on the next day the Court adopted the Stipulation and entered it as an

15   Order.

16            On January 26, the UFC contacted counsel for Plaintiffs and requested an advanced hearing date

17   on its forum non conveniens motion. Saveri Decl. ¶ 3. The UFC informed counsel for Plaintiffs that it had

18   already prepared the motion at that time. Id. Plaintiffs declined the UFC’s request, pointing out that the

19   Court had already set a briefing schedule for motions brought in response to the Complaints. On the

20   evening of January 30, the UFC filed its forum non conveniens motion, including dozens of exhibits and

21   other evidentiary material, and by its Administrative Motion asked the Court to order Plaintiffs to

22   respond to it by March 6, and set the motion for a hearing on March 26.

23   III.     ARGUMENT

24            A.     The Parties’ Stipulation Governs the Briefing Schedule for the Forum Non
                     Conveniens motion.
25
              This Court has already set a briefing schedule for any motion that the UFC would bring in
26
     response to the operative complaints. After negotiations extending the UFC’s time to respond, Plaintiffs
27
     and UFC agreed that the UFC would “answer, file a motion, or otherwise respond to the Complaints in
28
                                                                                                5:14-cv-05484-EJD
                                                                                                5:14-cv-05591-EJD
                                                         2                                      5:14-cv-05621-EJD
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 1   this action on or before Friday, February 27, 2015,” and that Plaintiffs’ responses would be “filed on or

 2   before Friday, April 10, 2015.” Docket No. 26 at 3. The stipulation specifically noted that the UFC did not

 3   waive “any right to seek or oppose any … transfer…with respect to any of the currently filed or future

 4   related actions … pursuant to 28 U.S.C. § 1404,” but made no special provision for a briefing schedule on

 5   a transfer motion.

 6          UFC argues that Plaintiffs’ point that the parties have already agreed to a briefing schedule is

 7   “incorrect,” highlighting a representation in the stipulation that it was entered into in order “to file a

 8   responsive pleading to the three pending Complaints” and “establish[] a consensual unified briefing

 9   schedule as to such pleading.” Docket No. 32 (citing Paragraph G of the stipulation). What the parties

10   actually agreed to, however, covered a broader range of responses to the Complaints. The UFC’s

11   interpretation is contrary to the plain language of the Stipulated Order, which references a range of

12   responses, including not only a “pleading,” but also a “motion.” See Docket No. 26 (UFC “will answer,

13   file a motion, or otherwise respond to the Complaints in this action on or before Friday, February 27,

14   2015”). It is thus consistent with the parties’ agreement for UFC to file its transfer motion “before”

15   February 27. However, it is inconsistent to require Plaintiffs to respond to the transfer motion by March 6,

16   given that the parties negotiated and agreed that Plaintiffs have until April 10 to respond to a “motion.”

17          The UFC made no mention of a proposed hearing date for its forum non conveniens motion until

18   ten days after the stipulation was filed, even though the UFC had clearly contemplated filing a transfer

19   motion when the stipulation was made. See Docket No. 32-1 at ¶ 3. If the UFC wanted to have its transfer

20   motion heard on another schedule, it should have raised that issue in drafting the stipulation, before

21   reaching agreement. There was no mention of a separate hearing date for a transfer motion during this

22   during the negotiations. Saveri Decl. ¶¶ 2-3. If the UFC had in fact intended or wished to file the forum

23   non conveniens motion and have it heard on the scheduled it now suggests, it could have—and should

24   have—raised it in the negotiations.

25          The Court should not deprive Plaintiffs of the benefit of their bargain and reward this stratagem

26   by advancing the hearing date on the UFC’s transfer motion.

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                                                                                                5:14-cv-05484-EJD
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                                                         3                                      5:14-cv-05621-EJD
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 1          B.      An Advanced Hearing Date Prejudices Plaintiffs.

 2          Plaintiffs are prejudiced by an advanced hearing date on the forum non conveniens motion in at least

 3   two meaningful respects.

 4          First, the advanced hearing date of March 26, 2015, is unfair because it would require Plaintiffs to

 5   brief the forum non conveniens issues raised in the UFC’s motion to transfer and have it heard before the

 6   Rule 26(f ) conference, at which the parties are required to exchange the identity of witnesses and other

 7   matters that have bearing on whether San Jose is an inconvenient forum to adjudicate this action. The

 8   Court has ordered the parties to meet and confer by April 17 and identify witnesses by May 1 (Docket No.

 9   4). At a minimum, Plaintiffs are entitled to learn all of UFC’s Rule 26(a)(1) initial disclosures—including

10   the addresses of witnesses and location of documents—to prepare its opposition to UFC’s transfer

11   motion, and in advance of the May 7 CMC (where a hearing on the transfer motion would likely be

12   discussed). Under the schedule set by the Court in the stipulation, Plaintiffs would learn UFC’s initial
                                                               2
13   disclosures before any hearing set for a transfer motion.

14          Second, Plaintiffs may need the benefit of discovery to develop a record of where the wrongdoing

15   that is the basis for their Section 2 claims transpired, and to test the completeness and veracity of UFC’s

16   representations concerning the extent of their operations in California. See Ayyash v. Bank Al-Madina,

17   2006 U.S. Dist. LEXIS 9677 (S.D.N.Y. Mar. 9, 2006) (“At this stage, the Court declines to decide which

18   of the parties’ accounts should drive the forum non conveniens inquiry.”); see also Docket No. 31-1

19   (conceding the UFC has an office in California and stating that “almost all” of its personnel responsible

20   for “executing contracts and conducting business relationships with fighters, event venues, sponsors,

21   merchandisers, and other business partners, are based in Las Vegas”) (emphasis added). Aside from

22   Plaintiff Le, who resides in San Jose, Plaintiffs believe there are key witnesses located in this District,

23   including witnesses in San Jose. Saveri Decl ¶ 8. Plaintiffs allege MMA rivals purchased by UFC were

24   based in California, including Strikeforce, which was based in San Jose, and that key witnesses (including

25   the UFC’s business partners) are located in this District. See id.; Le Complaint ¶¶ 28, 131. Plaintiffs are

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27   2
       The UFC’s statement that it would be “preferable” to have the transfer motion heard before the Case
28   Management Conference, initial disclosures, and initiation of discovery is self-serving, as it benefits only
     the UFC to have venue issues determined before identification of witnesses and documents is disclosed.
                                                                                                5:14-cv-05484-EJD
                                                                                                5:14-cv-05591-EJD
                                                          4                                     5:14-cv-05621-EJD
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 1   entitled to develop a full evidentiary record concerning the connections that this unlawful scheme has to

 2   this District and to California more generally. In light of the factual questions concerning the place of the

 3   wrongdoing and UFC’s operations, the expedited schedule requested by UFC is unwarranted.

 4           Finally, UFC notes that Plaintiffs have “prematurely” served subpoenas on third parties located

 5   in this District. Docket No. 32 at 2; see also Saveri Decl. Exs. 1 & 2. Plaintiffs were compelled to take these

 6   measures, as they are informed and believe that UFC President Dana White began a series of mass

 7   deletions of “tweets” from his Twitter account immediately after the Complaints were filed. Saveri Decl.

 8   ¶ 7. It evidently did not escape UFC’s notice that Mr. White’s tweets are highly relevant evidence of,

 9   inter alia, UFC’s anticompetitive intent. See, e.g., Le Complaint ¶ 12. That Plaintiffs have already taken

10   measures to address this important potential spoliation issue in this District is entirely appropriate.

11           C.     Judicial Economy Does Not Justify Hearing UFC’s Transfer Motion on March 26.

12           UFC argues that “judicial economy” requires the Court to hold a hearing on its forum non

13   conveniens motion before it resolves whatever other motions UFC may bring in response to the

14   Complaints. Docket No. 32 at 2. This contention is unfounded. As an initial matter, it is not necessary to

15   set an advanced hearing date, and an expedited briefing schedule, for this Court to rule on the forum non

16   conveniens motion before ruling on UFC’s other responsive motions. If the Court were inclined to resolve

17   the forum non conveniens motion first, the parties should do so on the briefing schedule currently set for

18   responsive motions, to which they agreed. The UFC argues that “it is critical to resolve a transfer motion

19   before the parties proceed to discovery on the merits of the case,” but the Court need not hold a hearing

20   on March 26 to follow this proposition.

21           It may be in the interests of “judicial economy” to resolve the transfer motion after hearing the

22   UFC’s pleading challenges. The UFC’s forum non conveniens motion includes an evidentiary declaration

23   with 24 exhibits, and raises issues concerning the balance of private and public interests. Docket No. 31-1.

24   In resolving this motion, the Court will potentially resolve factual disputes, which may go to the merits.

25   By contrast, UFC’s pleading challenges may be more expeditiously resolved.

26   IV.     CONCLUSION

27           For the foregoing reasons, the Court should deny the UFC’s Administrative Motion and order the

28   parties to comply with their previously agreed upon briefing schedule.

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            Pursuant to Local Rule 5.1(i)(3), I attest that all other signatories listed, and on whose behalf the
15
     filing is submitted, concur in the filing’s content and have authorized the filing.
16
     Dated: February 2, 2015                                By:    /s/ Joseph R. Saveri
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